         Case 1:17-cv-01932-TSC Document 34 Filed 03/07/19 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

ANTHONY PERRY,                       )
                                     )
                      Plaintiff,     )
                                     )
               v.                    )            Civil Action No. 17-1932 (TSC)
                                     )
WILBUR ROSS,                         )
United States Secretary of Commerce, )
                                     )
                      Defendant.     )
____________________________________ )

  DEFENDANT’S CROSS-MOTION AND OPPOSITION TO PLAINTIFF’S MOTION
                     FOR SUMMARY JUDGMENT

       Pursuant to Fed. R. Civ. P. 56, Defendant files his Cross-Motion for Summary Judgment

and Opposition to the Motion for Summary Judgment that was filed by Plaintiff Anthony Perry.

Defendant respectfully refers the Court to the attached memorandum of points and authorities,

supporting documents and a proposed order.

Dated: March 7, 2019                              Respectfully submitted,


                                                  JESSIE K. LIU, D.C. Bar #472845
                                                  United States Attorney

                                                  DANIEL F. VAN HORN, D.C. Bar #924092
                                                  Chief, Civil Division

                                                  By: /s/ Matthew Kahn
                                                  MATTHEW KAHN
                                                  Assistant United States Attorney
                                                  555 Fourth St., N.W. - Civil Division
                                                  Washington, D.C. 20530
                                                  Phone: (202) 252-6718
                                                  Email: Matthew.Kahn@usdoj.gov
